Case 18-68507-lrc     Doc 45    Filed 01/13/21 Entered 01/13/21 12:52:48           Desc Main
                                Document      Page 1 of 2



                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

           IN RE:                                   * CASE NO.: 18-68507
           Donald Renaldo Whiting, III,             *
           AKA Donald Renaldo Whiting; AKA Donald *
           RenaldoShanaile Whiting, III; AKA Donald
           Whiting; AKA Donald R S Whiting, III,
                                                    * CHAPTER: 13
                                                    *
                                                    *
                Debtor                              *

                       MOTION TO CONVERT CASE TO CHAPTER 7

            COMES NOW Donald Renaldo Whiting, III, debtor in the above-styled Chapter
     13 case, by and through undersigned counsel moves this Honorable Court, pursuant to 11
     U.S.C. Section 1307, to convert the above-styled Chapter 13 case to a proceeding under
     11 U.S.C. Chapter 7.

     WHEREFORE, Debtor prays:
         (a) That this Motion to Convert Case to Chapter 7 be filed, read, and considered;
         (b) That this Honorable Court grant this Motion to Convert Case to Chapter 7; and,
         (c) That this Honorable Court grant such other and further relief as it may deem just
         and proper
                                                    Respectfully submitted
                                                    CLARK & WASHINGTON, LLC

                                                    /s/
                                                    Christopher J. Kiefer, GA Bar No.
                                           417247
                                                    Attorneys for Debtor

            CLARK & WASHINGTON, LLC
            3300 Northeast Expressway
            Building 3
            Atlanta, GA 30341
            (404) 522-2222
Case 18-68507-lrc     Doc 45       Filed 01/13/21 Entered 01/13/21 12:52:48   Desc Main
                                   Document      Page 2 of 2



CC: Donald Renaldo Whiting, III,
